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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------X
Enrique Ruiz
                                      Plaintiff(s),

                                                                       23            07896         JGLC
                                                                              Civ.             (      )
                      - against -
                                                                       CLERK'S CERTIFICATE
JHDHA, Inc., and Angel Amigon                                              OF DEFAULT

                                    Defendant(s),
-------------------------------------------------------------X

                     I, RUBY J. KRAJICK, Clerk of the United States District Court for

the Southern District of New York, do hereby certify that this action was commenced on
9/6/2023
                         with the filing of a summons and complaint, a copy of the summons and
                                                      Angel Amigon
complaint was served on defendant(s)
                             Jose Doe (Co-Worker)
by personally serving                                                                                     ,
                                                         12/8/2023                        10
and proof of service was therefore filed on                                 , Doc. #(s)                   .

I further certify that the docket entries indicate that the defendant(s) has not filed an

answer or otherwise moved with respect to the complaint herein. The default of the

defendant(s) is/are hereby noted.

Dated: New York, New York

            January 16      , 20 24                                    RUBY J. KRAJICK
                                                                         Clerk of Court


                                                                 By: _________________________
                                                                           Deputy Clerk




SD N Y W eb 3/2015
